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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 United States of America,
                       Plaintiff,


                       vs.                              Case No. 12-10140-07-JTM
                                                                 16-1178-JTM
 Javier Aldrete,
                       Defendant.




                              MEMORANDUM AND ORDER



       Defendant Javier Aldrete has moved pro se to vacate his sentence as unconstitutional

in light of Johnson v. United States, 135 S.Ct. 2551 (2015). Aldrete pled guilty to three counts

of using a communication facility to facilitate the distribution of methamphetamine. (Dkt.

195). The court sentenced him to 144 months imprisonment. In Johnson, the Supreme Court

held that the term “crime of violence” as used in residual clause of the Armed Career

Criminal Act (ACCA) was unconstitutionally vague. See also United States v. Madrid, 805

F.3d 1204, 1210 (10th Cir. 2015).

       The court will deny the defendant’s motion. Aldrete’s sentence was not enhanced

because of prior crimes of violence. Rather, his sentence was enhanced as a career offender

under United States Sentencing Guidelines § 4B1.1(a) because of his prior convictions for
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serious drug offenses, as that term is defined under 18 U.S.C. § 924(e)(2)(A). (Dkt. 214, at

11). In 2004, Aldrete was convicted in this court of distribution of methamphetamine. In

2011, Aldrete was convicted in Missouri of conspiracy to distribute marijuana and

diazepam. These convictions reflect “serious drug offenses.”

       “Neither Johnson v. United States nor United States v. Madrid invalidated the ACCA

definition of a ‘serious drug offense,’ or the definition of a ‘controlled substance offense’

under the U.S.S.G.'s career-offender provision, and, therefore, [the defendant] is not

entitled to relief on his § 2255 motion.” See United States v. Alvarez-Narzagaray, 2016 WL

4035339, *3 (D.N.M. June 29, 2016) (citations omitted). See also, e.g., Stanley v. United States,

2016 WL 3514185, *1 (7th Cir. June 1, 2016) (“Johnson ... does not have anything to do with

the proper classification of drug offenses” for purposes of sentencing enhancements);

Wirsing v. United States, 2016 WL 4442812, *3 (N.D.W.Va. Aug. 23, 2016) (“petitioner's

assertion that the invalidated ACCA residual clause language also applies to ‘controlled

substance offense,’ thus entitling him to relief and resentencing pursuant to Johnson, is

erroneous”).

       The court further determines that the defendant has not made a substantial showing

that he has been denied a constitutional right, as 28 U.S.C. § 2253(c)(2) requires.

Accordingly, the court will deny a certificate of appealability.




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      IT IS ACCORDINGLY ORDERED this day of 25th August, 2016, that the defendant’s

Motion to Vacate (Dkt. 324) is hereby denied.




                                                s/J. Thomas Marten
                                                J. THOMAS MARTEN, JUDGE




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